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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                     CASE NO.: 1:05cr9-SPM

LEONARD HOCHMAN,

           Defendant.
_____________________________/

                       ACCEPTANCE OF GUILTY PLEA

        Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there have been no timely objections, and subject to

the Court’s consideration of any Plea Agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of guilty of the defendant, LEONARD HOCHMAN, to Count

One of the indictment is hereby ACCEPTED. All parties shall appear before this

Court for sentencing as directed.

        DONE AND ORDERED this 10th day of May, 2005.


                                      s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge
